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                                 No. 25-1164

              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT


                                  D.B.U., et al.,
                                   Petitioners,

                                        v.

                  DONALD J. TRUMP, in his official capacity as
                     President of the United States, et al.,
                                Respondents.


      RESPONDENT'S MOTION FOR LEAVE TO WITHDRAW THE
                  APPEARANCE OF COUNSEL


      Pursuant to Cir. R. 46.4, Respondent moves the Court for leave to withdraw the

appearance of attorney Tim Ramnitz, for the reasons specified in the attached

declaration. Specifically, the Respondents in this appeal will be represented by

August Flentje and John Hogan, whose appearances have been entered in this case.

                                             Respectfully submitted,

                                             /s Tim Ramnitz
                                             TIM RAMNITZ
                                             Senior Litigation Counsel
                                             U.S. Dept. of Justice, Civil Division
                                             Office of Immigration Litigation
                                             P.O. Box 878, Ben Franklin Station
                                             Washington, D.C. 20044
                                             Tim.Ramnitz@usdoj.gov

 April 30, 2025                              Attorney for Respondent
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                     CERTIFICATE OF COMPLIANCE

      As required by Fed. R. App. P. 32(g)(1), I certify that this motion meets the

requirements of Fed. R. App. P. 27(d)(2)(A) in that contains 35 words, and

therefore, no more than 5,200 words. I also certify that as required by Fed. R.

P. 32(c)(1), the format of this motion meets the requirements of Fed. R. App. P.

27(d)(1), as it is proportionately spaced and has a typeface of 14 points Times

Roman.

                                             /s Tim Ramnitz
                                             TIM RAMNITZ
                                             Senior Litigation Counsel
                                             U.S. Dept. of Justice,
                                             Civil Division
                                             Office of Immigration Litigation
                                             P.O. Box 878, Ben Franklin Station
                                             Washington, D.C. 20044
                                             Tim.Ramnitz@usdoj.gov
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                     CERTIFICATE OF CONFERENCE

      Pursuant to Cir. R. 27.1, undersigned counsel contacted Petitioners’ counsel

and counsel does not oppose this motion.



                                       /s/Tim Ramnitz
                                       TIM RAMNITZ,
                                       Senior Litigation Counsel
                                       Office of Immigration
                                       Litigation
                                       Civil Division, U.S. Dept. Of Justice
                                       P.O. Box 878, Ben Franklin
                                       Station Washington, D.C. 20044
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of April 2025, I electronically filed the

foregoing with the Clerk of Court for the United States Court of Appeals for the

Tenth Circuit by using the appellate CM/ECF system. I further certify that all

participants in the case are registered CM/ECF users and Petitioners will therefore

be served by CM/ECF.


                                              /s Tim Ramnitz
                                              TIM RAMNITZ
                                              Senior Litigation Counsel
                                              U.S. Dept. of Justice,
                                              Civil Division
                                              Office of Immigration Litigation
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                                 No. 25-1164

     IN THE UNITED STATES COURT OF APPEALS FOR THE TENTH
                            CIRCUIT


                                  D.B.U., et al.,
                                   Petitioners,

                                        v.

                DONALD J. TRUMP, in his official capacity as
                   President of the United States, et al.,
                              Respondents.


                        DECLARATION BY COUNSEL

1.     I, Tim Ramnitz, am an attorney at the United States Department of Justice

and I currently represent the Respondents in this Appeal. I request to be

withdrawn as counsel from this case.

2.     The Respondents will henceforth be represented by August Flentje of the

United States Department of Justice, and John Hogan of the United States

Department of Justice. August Flentje entered his appearance in this case on April

24, 2025, and on April 25, 2025, John Hogan entered his appearance.

3.     The Respondents’ interests will not be harmed by my withdrawal.
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                                         /s Tim Ramnitz
                                         TIM RAMNITZ
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